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9                             UNITED STATES DISTRICT COURT

10                           EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                 No.   2:15-cr-190-GEB
13                   Plaintiff,
14          v.                                 AMENDED ORDER1
15   LARRY TODT,
16                   Defendant.
17

18                On July 9, 2018, Defendant Larry Todt filed a document

19   titled      “NOTICE    OF   RIGHT    OF   RECISSION,     AFFIDAVIT-CONDITIONAL

20   ACCEPTANCE,      MOTION     TO     DISMISS,”    ECF    No.   409   (hereinafter

21   referenced     as     “Motion”),    purportedly   in    propria    persona   even

22   though he is represented by counsel.                  Defendant states in his

23   Motion, inter alia, “I do not consent to Jason Lawley being the

24   Attorney of Record on my behalf in regard to these proceedings

25   . . . Furthermore, I do not agree to represent myself or the

26
     1 This order amends the order of August 16, 2018, ECF No. 429, and is issued
27   in light of language in United States v. Massey, 419 F.3d 1008, 1010 (9th Cir.
     2005), which provides guidance on the nature of Defendant’s subject
28   representation request.
                                               1
      Case 2:15-cr-00190-KJM Document 439 Filed 08/20/18 Page 2 of 4


1    Named Defendant in this Matter.”               Motion       at 2.    Defendant’s

2    Motion is construed as his request to proceed without counsel.

3                  Defendant was found guilty by jury trial of one count

4    of conspiracy to falsely make lending association writings and to

5    commit bank fraud, and one count of bank fraud.                See ECF No. 320.

6    Defendant represented himself during the trial of this action

7    until he elected to be represented by his then stand-by counsel,

8    Mr. Jason Lawley.      However, following Defendant’s convictions at

9    his jury trial, a status hearing was held on March 2, 2018,

10   concerning Defendant’s attempt to fire Mr. Lawley.                    Toward the

11   conclusion of that hearing, Defendant was placed in custody of

12   the   Federal      Bureau    of      Prisons     for    a   mental    competency

13   examination.     ECF No. 344.

14                 Following receipt of Defendant’s Forensic Evaluation,

15   Defendant was found to be competent during a hearing held June

16   29,   2018,    following    which    the   undersigned      judge   attempted    to

17   ascertain whether Defendant desired to represent himself in the

18   action.       After a long exchange intended to determine whether

19   Defendant was “knowingly and intelligently” waiving his right to

20   counsel under Faretta v. California, 422 U.S. 806, 835 (1975),
21   and   after     near-constant       disruption    by    Defendant    during     the

22   questioning, the undersigned judge ultimately determined:

23                 [Defendant] does have the right to represent
                   himself, but he does not have the right to be
24                 disruptive. He can forfeit his right to
                   represent himself if he’s being disruptive.
25                 And at the moment, he’s being disruptive. And
                   so, I would only give him the right and take
26                 it away.   So, in the future, if he decides
                   not to be disruptive and to represent
27                 himself, . . . let me know. Right now, . . .
                   he’s being argumentative and seeking to look
28                 eccentric   and   saying  things   that   are
                                         2
      Case 2:15-cr-00190-KJM Document 439 Filed 08/20/18 Page 3 of 4


1                 nonsense.

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     Unofficial Transcript of June 29, 2018 Proceeding.
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                  Defendant’s contradictory statements in his Motion that
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     he “[does] not consent to Jason Lawley being the Attorney of
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     Record on [his] behalf in regard to these proceeding[; and that
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     he does] not agree to represent [himself] or the Named Defendant
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     in this Matter,”         Motion at 3, are considered in light of the
8
     Ninth Circuit decision in United States v. Massey, in which the
9
     Ninth   Circuit   stated     that    a     defendant       may   abuse    his     Sixth
10
     Amendment right by employing tactics that are tantamount “to an
11
     unequivocal waiver of the right to counsel.”                 419 F.3d 1008, 1010
12
     (9th Cir. 2005) (stating the defendant attempted to hinder his
13
     trial   by   declining     every    constitutionally         recognized     form    of
14
     counsel while simultaneously refusing to proceed pro se, however,
15
     “[a] defendant may not abuse the Sixth Amendment in this way [and
16
     the tactics] employed by Massey amount to an unequivocal waiver
17
     of the right to counsel”); see also United States v. Garey, 540
18
     F.3d 1253, 1264 (11th Cir. 2008) (en banc) (stating “[t]oday we
19
     recognize it is possible for a valid waiver of counsel to occur
20
     not only when a cooperative defendant affirmatively invokes his
21
     right   to   self-representation,          but   also   when     an   uncooperative
22
     defendant      rejects     the      only      counsel       to    which      he     is
23
     constitutionally entitled, understanding his only alternative is
24
     self-representation with its many attendant dangers,” and citing
25
     cases in accord).
26
                  Defendant’s    request      to      proceed    without      counsel    is
27
     scheduled for hearing on Friday, August 24, 2018, commencing at
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                                              3
      Case 2:15-cr-00190-KJM Document 439 Filed 08/20/18 Page 4 of 4


1    9:00 a.m.    Any party may file a brief with any information and/

2    or authority opined to be pertinent to the Motion on or before

3    Wednesday, August 22, 2018.

4                Dated:   August 20, 2018

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